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 8                           IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )               NO. CR S 03-267-GEB
                                         )
12                     Plaintiff,        )               [PROPOSED] ORDER
                                         )               TO CONTINUE SENTENCING
13         v.                            )
                                         )
14   AROUTIOUN SARGSYAN,                 )
                                         )
15                     Defendant.        )
     ___________________________________ )
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17          GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
18   sentencing in the above-captioned case be continued to December 16, 2005 at 9:00 a.m.
19          IT IS FURTHER ORDERED THAT the time from the date of this Order to December 16,
20   2005 be excluded pursuant to 18 U.S.C. §§ 3161(h)(8)(B)(iv) (reasonable time to prepare) and Local
21   Rule T4.
22
     DATED:      November 17, 2005
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                                                         /s/ Garland E. Burrell, Jr.
24                                                       GARLAND E. BURRELL, JR.
                                                         United States District Judge
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